   Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 1 of 13 PageID #:2095



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Protect Our Parks, Inc.; Charlotte Adelman; )
Maria Valencia; and Jeremiah Jurevis;       )
                                            )
                              Plaintiffs,   )
                                            )   No. 18 CV 03424
              v.                            )
                                            )
Chicago Park District and City of Chicago, )    Judge John Robert Blakey
                                            )
                              Defendants. )




             DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO
             DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION
    Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 2 of 13 PageID #:2096



                                        INTRODUCTION1

       Plaintiffs lack Article III standing to bring any of their claims because they assert no

concrete and particularized injury they will suffer as a result of the OPC being built on the

western edge of Jackson Park. As Defendants demonstrated in their Memorandum In Support Of

Their Motion To Dismiss For Lack Of Subject Matter Jurisdiction And, In The Alternative, For

Judgment On The Pleadings (“Mem.”), Plaintiffs’ status as public trust beneficiaries under state

law does not confer federal standing because it is a diffuse interest shared by all Illinois

residents. Similarly, their alleged tax payment to the Park District under the Museum Act is too

generalized to support Article III standing, and, regardless, no Museum Act tax revenue collected

by the Park District will be spent on the OPC.

       Perhaps recognizing these shortcomings, Plaintiffs, in their Response, assert two new

standing theories: (1) that Plaintiffs’ status as City taxpayers provides standing because the City

will use tax revenue to support the OPC, and (2) that the OPC will cause aesthetic and

environmental harm to Jackson Park. But their new “City taxpayer theory” fails because

Plaintiffs do not identify any City expenditure that will be used to support allegedly illegal

activity. Rather, construction and operation of the OPC will be paid for by the Foundation. And

the environmental harm theory fails due to the same defect as the public trust theory, because

Plaintiffs fail to identify any way in which locating the OPC on a portion of Jackson Park will

inflict a particularized and concrete injury on any Plaintiff.

       Finally, Plaintiffs’ First Amendment claim is non-justiciable on the additional ground that



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  Defendants have moved to dismiss for lack of jurisdiction and for judgment on the pleadings.
Dkt. 48. Pursuant to this Court’s order of January 22, 2019 converting the motion for judgment
on the pleadings to a motion for summary judgment (Dkt. 79), Defendants submit this reply in
support of their jurisdictional arguments only (Mem. at 14-16, 19-20), and reserve their reply in
support of their merits arguments for subsequent briefing.
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     Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 3 of 13 PageID #:2097



it is unripe. It relies on speculation that the Foundation will, years in the future after the OPC

opens, use the OPC as a site for improper political advocacy. But federal law and the Use

Agreement squarely prohibit such activity. Plaintiffs’ speculation that the Foundation may

violate these prohibitions at some future time cannot support a cause of action now.

        For these and other reasons discussed below, the Court should grant Defendants’ motion

to dismiss for lack of subject matter jurisdiction.

I.      Plaintiffs Lack Article III Standing.

        A.      Plaintiffs’ claimed beneficial interest in a state-law public trust does not
                confer federal standing.

        Even if Plaintiffs are, as Illinois citizens, generic beneficiaries of a public trust under

Illinois law, this communal status does not give them standing to sue in federal court because

their interest is too diffuse and generalized to constitute the particularized and concrete injury

required under Article III. See Mem. at 14-15. Federal courts have long refused “to serve as a

forum for generalized grievances.” Lance v. Coffman, 549 U.S. 437, 439 (2007); see also, e.g.,

Lujan v. Defs. of Wildlife, 504 U.S. 555, 573–74 (1992) (plaintiff “seeking relief that no more

directly and tangibly benefits him than it does the public at large . . . does not state an Article III

case or controversy”).

        Plaintiffs concede that their alleged interest as public trust beneficiaries is common to

“each citizen or taxpayer of Illinois.” Resp. at 13. Nonetheless, Plaintiffs contend that they have

federal standing because Illinois decisions have recognized a citizen’s beneficial interest in a

public trust as a basis for standing to sue in Illinois state court. See Resp. at 13–14 (citing

Paepcke v. Public Bldg. Com., 46 Ill. 2d 330, 341–42 (1970), and Fiala v. Wasco Sanitary Dist.,

2014 IL App (2d) 130253-U, ¶ 14). But as Defendants already have shown, it is well established

that standing to sue in state court does not equate to standing to sue in federal court. See Mem.

                                                   2
    Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 4 of 13 PageID #:2098



at 14-15 (discussing Hollingsworth v. Perry, 570 U.S. 693 (2013), and Illinois ex rel. Ryan v.

Brown, 227 F.3d 1042, 1045 (7th Cir. 2000)). Paepcke and Fiala therefore cannot form the basis

for Article III standing in this federal litigation.

        Plaintiffs have no answer to this foundational legal principle. They argue that

Hollingsworth is distinguishable because there, the parties seeking standing were asserting the

rights of third-parties, while here Plaintiffs are “asserting their own rights.” Resp. at 14 n.8. But

this misreads Hollingsworth. Proponents of the ballot initiative in that case did indeed assert

their own rights, based on their special role in the California ballot initiative process. See

Hollingsworth, 570 U.S. at 706. Only after concluding that their state-law status did not confer

federal standing to press their own rights did the Court consider whether the proponents had

standing to assert the rights of third parties. See id. None of this affects Hollingsworth’s core

holding: that standing in state court does not equate to standing in federal court. And Plaintiffs

do not even try to distinguish the Seventh Circuit’s decision in Brown, which rejected federal

standing for plaintiffs who, like Plaintiffs here, brought suit “in their capacity as taxpayers and

citizens of the State of Illinois” and thus could only claim a generalized grievance. 227 F.3d at

1043.

        Plaintiffs cite the district court decisions in Lucas in support of their standing argument.2

But the standing arguments that Defendants make here were not made by the parties or addressed

by the court in Lucas. Rather, Defendants’ sole standing argument in Lucas was that Plaintiffs’

claims were contingent, and therefore insufficient to provide standing, because final City action



2
 Only the first Lucas decision dealt with the standing issue. See Friends of the Parks v. Chicago
Park Dist., 2015 WL 1188615, at *3 (N.D. Ill. Mar. 12, 2015) (“Lucas I”). The Defendants in
Lucas did not argue lack of standing in their second motion to dismiss, and the court’s second
decision did not address it. See Friends of the Parks v. Chicago Park Dist., 160 F. Supp. 3d 1060
(N.D. Ill. 2016) (“Lucas II”).
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   Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 5 of 13 PageID #:2099



to authorize the museum had not occurred. See Lucas I, Def. City of Chicago’s Mem. in Supp.

of its Mot. to Dismiss Pls.’ Compl., Dkt. 20, attached hereto as Exhibit A, at 6–7. Accordingly,

the district court in Lucas was not asked to consider the standing argument Defendants make

here – that a generalized, state-law beneficial interest in public trust land is not a sufficiently

particularized and concrete injury for Article III standing.

        Indeed, if Lucas had addressed and rejected the standing argument Defendants raise here,

the court could have reached the result it did only by breaking squarely from controlling federal

authority. As Defendants have already explained, see Mem. at 15 n.4, the Lucas court found

federal standing based solely on the plaintiffs’ claimed status as public trust beneficiaries under

Illinois law, precisely the reasoning that Hollingsworth and Brown forbid. But because

Defendants’ argument in Lucas was different than their argument here, Hollingsworth and

Brown – and the critical holding that state-law standing is insufficient to confer Article III

standing – were not brought to the Lucas court’s attention The court’s opinion thus did not

address, much less distinguish, those cases.

        Finally, the other two federal cases Plaintiffs cite – Booth v. Lemont Mfg. Corp., 440

F.2d 385, 386 n.2 (7th Cir. 1971) (discussing standing requirement in Illinois state courts); and

Lake Michigan Fed’n v. U.S. Army Corps of Eng’rs, 742 F. Supp. 441 (N.D. Ill 1990) (no

discussion of standing) – did not even address Article III standing. Accordingly, they cannot

support standing here. Cf. Hibbs v. Winn, 542 U.S. 88, 126–27 (2004) (prior exercise of

jurisdiction in case where jurisdiction was not questioned is not binding on subsequent courts).

That is particularly true because Booth and Lake Michigan Fed’n significantly predate both

Brown and Hollingsworth, which conclusively demonstrate that Plaintiffs’ status as public trust

beneficiaries under state law does not support Article III standing in federal court.



                                                   4
    Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 6 of 13 PageID #:2100



        B.      Plaintiffs’ alleged status as City taxpayers does not confer standing.

        Plaintiffs have abandoned the taxpayer theory of standing they alleged in their complaint

and have crafted, as an attempted substitution, a new theory of taxpayer standing, based on their

status as City taxpayers (even though Plaintiff Adelman is a resident of Wilmette).3 To assert

standing, a municipal taxpayer must “bring ‘a good-faith pocketbook action.’” Clay v. Fort

Wayne Cmty. Sch., 76 F.3d 873, 879 (7th Cir. 1996). This means the taxpayer must (1) identify

a particular “disbursement of [municipal] funds” that (2) constitutes “an illegal use of tax

revenues.” Id.; see also Reich v. City of Freeport, 527 F.2d 666, 670 (7th Cir. 1975) (municipal

taxpayer standing does not exist without a “logical nexus between the taxpayer status and the

‘incidental expenditure of tax funds’”) (quoting Flast v. Cohen, 392 U.S. 83, 102 (1968)).

Plaintiffs do not come close to meeting that test, for several reasons.

        First, the activities that Plaintiffs challenge as illegal – the construction of the OPC and

its alleged use for partisan political purposes – fail the first part of the Clay test, because

Plaintiffs cannot identify any City expenditures that will be used to fund those activities. As

Defendants have explained, Foundation funds, not City funds, will pay for the OPC’s

construction and ongoing operations. See Mem. at 9.4

        Aiming to avoid this fundamental defect in their theory, Plaintiffs cite three categories of



3
  The Complaint claims standing arises because Plaintiffs would allegedly pay a “Museum Act”
tax to the Park District that would be used to support the OPC. See Compl. ¶¶ 7, 119-20. As
Defendants explained, however, taxes collected pursuant to the Museum Act will not, by law, be
used to fund the OPC, because the Park District will not own or control the OPC site. See Mem.
at 16. Plaintiffs do not dispute this point in their Response and have abandoned this argument.
4
   Because no tax funds will be used to support future expressive activities at the OPC, this case
is distinguishable from O’Brien v. Vill. of Lincolnshire, No. 18-CV-01310, 2018 WL 6433852,
at *5 (N.D. Ill. Dec. 7, 2018). In O’Brien, the municipality granted tax revenue directly to a
lobbying organization to fund its ongoing lobbying and other political activities. No such direct
funding of ongoing expressive activity is at issue here.
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    Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 7 of 13 PageID #:2101



funds that the City will allegedly spend not on the OPC’s actual construction or operations, but

on other items with a purported connection to the OPC: (1) environmental remediation costs for

the OPC site, (2) funding for alterations to roadways surrounding the site, and (3) funds to install

a new track and field facility on parkland adjacent to the site. But this argument fails the second

element of the Clay analysis, for Plaintiffs do not (and cannot) claim that any of these alleged

expenditures constitutes an inherently unlawful use of tax revenue. It is not illegal for the City to

pay to clean up environmental conditions on parkland, to rearrange roadways in public parks, or

to build a new track and field on parkland – and Plaintiffs do not even attempt to say that it is.

And as to the conduct that Plaintiffs claim will be unlawful – the construction of the OPC and its

alleged use for improper political advocacy – these three categories of expenditures will not be

used: they are not expenditures for the construction and operation of the OPC, which will be paid

for by the Foundation. Plaintiffs’ inability to tether the alleged City expenditures to any

unlawful activity is fatal under Clay, because proper use of tax revenue does not create taxpayer

injury.5

           The Seventh Circuit has made it clear that without plausible allegations that any City tax

money has been or will be spent on the purportedly unlawful activity, Plaintiffs’ “status as . . .

municipal taxpayer[s] is irrelevant for standing purposes.” Freedom From Religion Found., Inc.

v. Zielke, 845 F.2d 1463, 1470 (7th Cir. 1988); see id. (municipal taxpayers lacked standing to

challenge religious display in public park, even though municipality spent taxpayer money on the

park, because taxpayer money was not used to fund the display, specifically); Am. Civil

Liberties Union of Ill. v. City of St. Charles, 794 F.2d 265, 267–68 (7th Cir. 1986) (municipal



5
   In any event, Plaintiffs do not establish that these alleged expenditures would deplete the City
treasury, resulting in an “increase to a [Plaintiffs’] tax bill to make up a deficit.”
DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 344 (2006).
                                                    6
   Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 8 of 13 PageID #:2102



taxpayers lacked standing to bring Establishment Clause challenge to lighted cross on public

building where city incurred expenses to maintain cross-bar holding display but did not pay to

light the cross itself). For these reasons, Plaintiffs lack standing as City taxpayers.

       C.      Plaintiffs’ allegations of aesthetic or environmental harm to Jackson Park do
               not confer standing.

       Plaintiffs’ final standing theory is based on alleged “[a]esthetic and [e]nvironmental

[h]arm to Jackson Park.” Resp. at 14. But here too, Plaintiffs fail to identify any concrete and

particularized injury sufficient to show standing. In fact, the very case on which Plaintiffs rely,

Sierra Club v. Morton, 405 U.S. 727 (1972), defeats their new, unpled argument.

       There, the Sierra Club challenged the development of a ski resort in a mountain valley,

claiming that the development would change the valley’s use and alter “the aesthetics and

ecology of the area.” Id. at 734. The Supreme Court recognized that the Sierra Club “is a large

and long-established organization, with a historic commitment to the cause of protecting our

Nation’s natural heritage from man’s depredations.” Id. at 739. Even so, the Sierra Club lacked

standing because it did not establish that it or its members “would be affected in any of their

activities or pastimes” by the development or that its members actually used the valley “for any

purpose, much less that they use it in any way that would be significantly affected by the

proposed actions.” Id. at 735. The Court explained that standing based on “[a]esthetic and

environmental well-being” exists only when a plaintiff suffers a particularized and concrete

injury – that is, when he is “himself among the injured.” Id. at 734-35. In short, general dismay

that a piece of property will be used in a way that Plaintiffs take issue with is insufficient to

confer Article III standing.

       General dismay is all Plaintiffs allege here, and they therefore fail the Sierra Club test.

Plaintiffs do not allege – in their Complaint or their Response – that any of them (or any Protect

                                                   7
      Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 9 of 13 PageID #:2103



Our Parks members) would suffer individual injury because their use of the 19-acre OPC site

will be compromised in a legally cognizable way. The site consists of general parkland – open

grassy space, some trees, a track and field, and a playground – on the western edge of Jackson

Park, isolated by busy roads, and Plaintiffs do not identify any specific aesthetic or

environmental feature on the site that they enjoy but would be diminished by the OPC’s

construction. Plaintiffs invoke only their alleged aesthetic and environmental interests “in

Jackson Park” generally, Resp. at 14, but this is precisely the type of claim that fails to meet the

Article III standing requirement, as the Seventh Circuit has held: A plaintiff “cannot merely

offer ‘averments which state only that [the plaintiff] uses unspecified portions of an immense

tract of territory, on some portions of which [damaging] activity has occurred or probably will

occur by virtue of the governmental action.’” Bensman v. U.S. Forest Serv., 408 F.3d 945, 961

(7th Cir. 2005) (quoting Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 889 (1990)). Accordingly,

Plaintiffs cannot establish standing based on this new theory.

II.      Plaintiffs’ First Amendment Claim Is Unripe.

         Plaintiffs’ First Amendment claim is non-justiciable not only because Plaintiffs lack

standing but also because the claim is unripe. As Defendants explained, the claim is based on

two levels of unfounded speculation. First, Plaintiffs theorize that, in the future, the OPC may be

used for partisan political activity. Second, Plaintiffs speculate that they will be forced to

subsidize that activity through payment of a tax dedicated to the OPC’s upkeep. See Mem. at 19-

20. Such conjecture is insufficient to create a ripe controversy under Article III.

         First, both federal law (which governs the Foundation’s status as a tax-exempt entity) and

the controlling, City-Council-mandated Use Agreement prohibit the Foundation from using the

OPC site for the political advocacy that Plaintiffs speculate may occur in an undefined way at



                                                  8
  Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 10 of 13 PageID #:2104



some unspecified future date. See Mem. at 19–20. Plaintiffs do not dispute the binding force of

these legal dictates. Instead, they predict that President Obama will somehow use the OPC to

“advance certain political causes and candidates in the Democratic Party.” Resp. at 43. But it is

black-letter law that “a party seeking federal jurisdiction cannot rely on such speculative

inferences . . . to connect his injury to the challenged actions of the defendant.” DaimlerChrysler

Corp. v. Cuno, 547 U.S. 332, 346 (2006) (internal quotation marks and alterations omitted).

Plaintiffs allege no plausible basis to infer that President Obama or the Foundation will violate

federal law or the requirements imposed by the City Council in the Use Agreement, thus

jeopardizing the Foundation’s tax-exempt status, by engaging in prohibited political activities at

the OPC. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2007) (requiring “plausible

grounds” for all inferences from plaintiffs’ complaint).

       Further, even accepting arguendo Plaintiffs’ implausible prediction that the Foundation

will someday engage in partisan political activity at the OPC, there is no plausible basis to infer

that municipal tax revenue would be used to subsidize it. As explained above, taxes collected by

the Park District under the Museum Act tax will not, by law, be used to fund any aspect of the

OPC. Likewise, Plaintiffs’ new claim that City taxes will be used to fund environmental

remediation, road work, and a new track does nothing to advance Plaintiffs’ First Amendment

claims, for none of this spending relates to any speculative, future partisan political expression.

       Finally, Plaintiffs note that in some circumstances courts will relax ripeness standards for

First Amendment claims, citing New Mexicans for Bill Richardson v. Gonzales, 64 F.3d 1495,

1500 (10th Cir. 1995). See Resp. at 42. But Gonzales explains that “the primary reason[] for

relaxing the ripeness analysis in [the First Amendment] context” is the “chilling effect that

potentially unconstitutional burdens on free speech may occasion.” 64 F.3d at 1500. Plaintiffs do



                                                  9
  Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 11 of 13 PageID #:2105



not claim that the OPC will be an unconstitutional burden on free speech. Rather, they challenge

the government’s alleged promotion of a third party’s speech. Thus, the modified ripeness

analysis described in Gonzalez does not apply here.

        Defendants note that, in the highly unlikely event that (1) the Foundation would, years

from now, violate the law and legal documents governing the site and engage in improper

political advocacy, and (2) Plaintiffs would somehow subsidize that activity, Plaintiffs could then

assert that they have a First Amendment claim that is ripe for review. But “[a] dispute must have

ripened into a legal case before a federal court can act; the case must not lie merely in the

future.” See Jones v. Griffith, 870 F.2d 1363, 1366 (7th Cir. 1989) (emphasis added). For all of

these reasons, Plaintiffs’ First Amendment claim is unripe, and the Court therefore lacks subject

matter jurisdiction.

                                         CONCLUSION

        For the foregoing reasons and those set out in Defendants’ opening memorandum, the

Court should grant Defendants’ motion to dismiss for lack of subject matter jurisdiction.

Date:   February 1, 2019                                  Respectfully submitted,

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                                                 10
Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 12 of 13 PageID #:2106



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                                     11
  Case: 1:18-cv-03424 Document #: 83 Filed: 02/01/19 Page 13 of 13 PageID #:2107



                                  CERTIFICATE OF SERVICE

       I, Andrew Worseck, an attorney, hereby certify that on this, the 1st day of February,

2019, I caused copies of Defendants’ Reply In Support Of Their Motion To Dismiss For

Lack Of Subject Matter Jurisdiction to be electronically filed with the Clerk of the United

States District Court for the Northern District of Illinois using the CM/ECF system, which will

send notification of such filing to all parties that have appeared in this action

                                                               /s/ Andrew W. Worseck
